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I                                                                                            FILED BY~D.C.
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                                UNITED STATES DISTRICT COURT                                    ANGELAE
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J                                             18 U.S.C.   § 1029(a)(3)            · .. · -       ·
                                              18 U.S.C.   § 1028A(a)(1)            MA.GJS1RA1E PI.JDG.S
                                              18 U.S.C.   § 1029(c)(1)(C)        ::/~~;i~!".")8m,T"iliR
                                              18 U.S.C.   § 982(a)(2)(B)

     UNITED STATES OF AMERICA

     vs.

     LESTER JAVIER BERMUDEZ ALVAREZ,

           Defendant.
     ----------------------------~/
                                              INDICTMENT

            The Grand Jury charges that:

                                              COUNT1
                            Possession of Access Device-Making Equipment
                                      (18 U.S.C. § 1029(a)(4))

                    On or about August 19, 2018, in Broward County, in the Southern District of

     Florida, and elsewhere, the defendant,

                             LESTER JAVIER BERMUDEZ ALVAREZ,

     did knowingly, and with intent to defraud, have control and custody of, and possess device-making

     equipment, that is, a credit and debit card skimming device, said conduct affecting interstate and

     foreign commerce, in violation of Title 18, United States Code, Section 1029(a)( 4).
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I                                               COUNT2
II                    Possession of Fifteen or More Unauthorized Access Devices
                                         (18 U.S.C. § 1029(a)(3))
I            On or about August 19, 2018, in Broward County, in the Southern District of Florida, and

      elsewhere, the defendant,

                               LESTER JAVIER BERMUDEZ ALVAREZ,

      did knowingly, and with intent to defraud, possess fifteen (15) or more unauthorized access

      devices, that is, credit and debit card account numbers issued to other persons, said conduct

      affecting interstate and foreign commerce, in violation of Title 18, United States Code, Section

      1029(a)(3).

                                               COUNTS3-4
                                         Aggravated Identity Theft
                                         (18 U.S.C. § 1028A(a)(1))

              On or about August 19, 2018, in Broward County, in the Southern District of Florida, and

      elsewhere, the defendant,

                                  LESTER JAVIER BERMUDEZ ALVAREZ,

      during and in relation to a felony violation of Title 18, United States Code, Section 1029(a)(3),

      that is, knowingly, and with intent to defraud, possessing fifteen (15) or more unauthorized access

      devices, that is, credit and debit card account numbers issued to other persons, said conduct

      affecting interstate and foreign commerce, as charged in Count 2 of this Indictment, did knowingly

      possess, without lawful authority, the means of identification of another person as set forth in each

      count below:




                                                       2
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    Count                                 Means of Identification

       3         Name and credit card account number ending in 4035 issued in the name of
                 "J.H"


       4         Name and credit card account number ending in 9884 issued in the name of
                 "M.K"


           In violation of Title 18, United States Code, Section 1028A(a)(1).

                                            COUNTS
                           Possession of Access Device-Making Equipment
                                     (18 U.S.C. § 1029(a)(4))

                  On or about August 23, 2018, in Broward County, in the Southern District of

 Florida, and elsewhere, the defendant,

                           LESTER JAVIER BERMUDEZ ALVAREZ,

 did knowingly, and with intent to defraud, have control and custody of, and possess device-making

 equipment, that is a credit and debit card skimming device, said conduct affecting interstate and

 foreign commerce, in violation of Title 18, United States Code, Section 1029( a)( 4 ).

                                            COUNT6
                   Possession of Fifteen or More Unauthorized Access Devices
                                      (18 U.S.C. § 1029(a)(3))

           On or about January 16,2019, in Broward County, in the Southern District of Florida, and

 elsewhere, the defendant,

                            LESTER JAVIER BERMUDEZ ALVAREZ,

 did knowingly, and with intent to defraud, possess fifteen (15) or more unauthorized access

 devices, that is, credit and debit card account numbers issued to other persons, said conduct
                                                   3
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 affecting interstate and foreign commerce, in violation of Title 18, United States Code, Section

 1029(a)(3).

                                           COUNT7
                                     Aggravated Identity Theft
                                     (18 U.S.C. § 1028A(a)(l))

          On or about January 16, 2019, in Broward County, in the Southern District of Florida,

 and elsewhere, the defendant,

                           LESTER JAVIER BERMUDEZ ALVAREZ,

 during and in relation to a felony violation of Title 18, United States Code, Section 1029( a)(3 ),

 that is, knowingly, and with intent to defraud, possessing fifteen (15) or more unauthorized access

 devices, that is, credit and debit card account numbers issued to other persons, said conduct

 affecting interstate and foreign commerce, as charged in Count 6 of this Indictment, did knowingly

 possess, without lawful authority, the means of identification of another person, that is, the name

 and credit card account number ending in 433 7 issued in the name of "J .A.," in violation of Title

 18, United States Code, Section 1028A(a)(l).

                                  FORFEITURE ALLEGATIONS

         1.      The allegations of this Indictment are re-alleged and by this reference fully

 incorporated herein for the purpose of alleging criminal forfeiture to the United States of America

 of certain property in which the defendant, LESTER JAVIER BERMUDEZ ALVAREZ, has

 an interest.

         2.     Upon conviction of a violation of Title 18, United States Code, Section 1029, as

 alleged in Counts 1, 2, 5, and 6 of this Indictment, the defendant shall forfeit to the United States

 of America,: (a) all property constituting, or derived from, proceeds obtained, directly or indirectly,
                                                   4
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 as the result of such violation, pursuant to Title 18, United States Code, Section 982(a)(2)(B); and

 (b) any personal property used, or intended to be used, to commit such offense, pursuant to Title

 18, United States Code, Section 1029(c)(l)(C).

        3.      The property which is subject to forfeiture includes a forfeiture money judgment in

 the amount of the value of any property that constitutes or is derived from proceeds obtained as a

 result of the offenses, and any personal property that was used or intended to be used to commit

 or facilitate the commission of the offenses.

       All pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and 1029( c )(1 )(C), and

 the procedures set forth at Title 21, United States Code, Section 853, as made applicable by Title

 18, United States Code, Sections 982(b)(1) and 1029( c )(2).




                                                 FOREPERSON



     \~J:.-;--L,
 ARIANA FAJARDO ORSHAN
 UNITED STATES ATTORNEY




 CHRISTINE HERNANDEZ
 ASSISTANT UNITED STATES ATTORNEY




                                                  5
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                                                  UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                     CASE NO.,_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 v.
                                                             CERTIFICATE OF TRIAL ATTORNEY*
LESTER JAVIER BERMUDEZ ALVAREZ
                                                             Superseding Case Information:
                                  Defendant.

Court Division:   (Select One)                               New defendant( s)          Yes        No
       Miami                     Key West                    Number of new defendants
 1     FTL                       WPB           FTP           Total number of counts

        I.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this
                  Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                  Act, Title 28 U.S.C. Section 3161.
        3.         Interpreter:    (Yes or No)         Yes
                   List language and/or dialect        SPANISH
        4.         This case will take _4_ days for the parties to try.
        5.        Please check appropriate category and type of offense listed below:

                  (Check only one)                                   (Check only one)


        I         0 to 5 days                                        Petty
        II        6 to 10 days                                       Minor
        III       11 to 20 days                                      Misdem.
        IV        21 to 60 days                                      Felony             I

        v         61 days and over
        6.       Has this case previously been filed in this District Court?     (Yes or No) No
         If yes: Judge                                     Case No.
         (Attach copy of dispositive order)                           ----------------------------
         Has a complaint been filed in this matter?         (Yes or No)      No
         If yes: Magistrate Case No.
         Related miscellaneous numbers:
         Defendant(s) in federal custody as of
         Defendant(s) in state custody as of
         Rule 20 from the District of
         Is this a potential death penalty case? (Yes or No)

         7.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                    prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No 1

         8.         Does this case originate from a matter pending in the Northern Region U.S. Attorney's Office
                    prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes            No _ 1_




                                                                      ASSISTANT UNITED STAT
                                                                      Florida Bar. No. 15349
 *Penalty Sheet(s) attached                                                                                   REV 8113/2018
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

 Defendant's Name: LESTER JAVIER BERMUDEZ ALVAREZ

 Case No:

 Counts #: 1 and 5

 Possession of Access Device-Making Equipment

 Title 18, United States Code, Section 1029(a)( 4)

 *Max. Penalty: 15 years' imprisonment


 Counts #: 2 and 6

 Possession of Fifteen or More Unauthorized Access Devices

 Title 18, United States Code, Section 1029(a)(3)

 *Max. Penalty: 10 years' imprisonment

 Counts#: 3, 4, and 7

 Aggravated Identity Theft

 Title 18, United States Code, Section 1028A(a)(l)

 *Max. Penalty: 2 years' imprisonment (consecutive to any other sentence)



 *Refers only to possible term of incarceration, does not include possible fines, restitution,
 special assessments, parole terms, or forfeitures that may be applicable.
